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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )           No. 20 CR 812
       vs.                                       )
                                                 )           Honorable Harry D. Leinenweber
MICHAEL McCLAIN, et al.,                         )
                                                 )


 DEFENDANTS’ JOINT MOTION TO STRIKE SURPLUSAGE FROM INDICTMENT

       Defendants Michael McClain, Anne Pramaggiore, John Hooker, and Jay Doherty

(collectively “Defendants”), by and through their undersigned counsel and pursuant to Federal

Rule of Criminal Procedure 7(d), respectfully move to strike references to the passage of

legislation identified in paragraphs 1.o, 1.p, and 1.q of the Indictment. These references should be

stricken because they are clearly not relevant and are prejudicial. Defendants file herewith and

incorporate by reference their Memorandum of Law in Support.

DATED: September 22, 2021                         Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of September, 2021, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I certify that the foregoing
document is being served this day on all counsel of record via transmission of Notices of Electronic
Filing generated by CM/ECF.


                                                     /s/ Patrick J. Cotter




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